Case 1:07-cv-20136-PAS Document 500 Entered on FLSD Docket 01/26/2012 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.07-20136-CV-SE1TZ/SIM ONTON

 W ALTER INTERNA TIONAL PRODUCTIONS, m C.,eta1.,

               Plaintiffs,

 VS.

 W ALTER M ERCADO SALW AS,eta1.,

               Defendants.


                     FINA L JUD G M EN T A S T O APPELLA TE C O STS

        The Courthaving granted Defendants'M otion forAppellateTranscriptCosts, itishereby

        ORDERED thatjudgmentisenteredinfavorofDefendants,W alterM ercado Salinasand
 Astrom undo,lnc.,and againstPlaintiffs,W alterlntem ationalProductions, lnc.,W atervision,

 Inc.,W altervision Productions,Inc.,W alterM ercado Radio Productions, Inc.,BM Enterprises,

 International,Ltd.,and W alterM ercado Entep risesCorp.,jointl
                                                              y andseverally,inthenmountof
 $4,043.58.
                                                         wx
       DoxE and ORDERED in M iam i,Florida,this4 ö           dayoflanuary 2012.
                                                                         ,

                                                  e      l          -



                                           PA TRICIA A .SEITZ
                                           UNITED STATES DISTRICT JUDGE

cc:    AllCotmselofRecord
